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             EXHIBIT A




                                                              EXHIBIT A
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                                                                           Original - Court                                        2nd copy - Plaintiff
          Approved, SCAO                                                   1st copy - Defendant                                    3rd copy - Return

                 STATE OF MICHIGAN                                                                                                     CASE NO.
                                 JUDICIAL DISTRICT
        6111                      JUDICIAL CIRCUIT                             SUMMONS                                2021-187679-NO
                                 COUNTY PROBATE

        Court address                                                                                                                           CoUrt. telephone no.
      . 1200 N. Telegraph Road, Pontiac, MI
        Pleintiff's*name(s), address(es), and telephone no(s):                                 Defendants name(s), address(es), and telephone no(s).
        Josephine Slappey                                                                      Target Corporation




                attorney, bar no., address,       telephone no..       This Lasehas b en designated as an eFiling case, for more
        Drew $lager (P 72941)                                          infor ation pie se visit www.oakgov.com/efiling.
        28225 Mound Rd.
        Warren, MI 48092
        586-751,3900


        Instructions: Check the items below that apply to you and provide any required information. Submit this form to the court clerk along with your complaint and,
        if necessary, a case inventory addendum (form MC 21). The summons section will be completed by the court clerk.


        Domestic Relations Case
        El There are no pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family or
           family members of the person(s) who are the subject of the complaint.
        0 There is one or more pending or resolved cases within the jurisdiction of the family division of the circuit court involving
          the family or family members of the person(s) who are the subject of the complaint. I have separately filed a completed
          confidential case inventory (form MC 21) listing those cases.
        0 It is unknown if there are pending or resolved cases within the jurisdiction of the family division of the circuit court involving
          the family or family members of the person(s) who are the subject of the complaint.

        Civil Case
        El This is a business case in which all or part of the action includes a business or commercial dispute under MCL 600.8035.
        El MDMHS and a contracted health pla                 -right to recover expenses in this case. I certify that notice and a copy of
           the complaint will be provided to M                  kgpable) the contracted health plan in accordance with MCL 400.106(4).
        E There is no other pending or resold                          out of the dame transaction or occurrence as alleged in the
           complaint.
        0 A civil action between these partie,                               ising out of the trans'aCtion or occurrence alleged in the complaint has
                                            •o
           been previously filed in 0 this cou                                                                                                       Court, where

           it was given case number                                            and assigned to Judge

           The action CI remains CI is no longer pending.

0       Summons section completed by court clerk.                             SUMMONS

LT_     NOTICE TO THE DEFENDANT: In the name of the people of the State of Michigan you are notified:
        1. You are being sued.                                                                      .
        2. YOU HAVE 21 DAYS after receiving this summons and a copy of the complaint to file a written answer with the court and
           serve a copy on the other party or take other lawful action with the court (28 days if you were served by mail or you were
           served outside this state).                                                                .
        3. If you do not answer or take other action within the time allowed, judgment may be entered against you for the relief
           demanded in the complaint.       -                                                   •
        4. If you require special accommodations to use the cour113/ ecause of a disability or if you require a foreign language interpreter
        • to help you fully participatein court proceedings, pie e contact the court immediately to make arrangements.
        lisue date                            Expiration date*                   Court clerk
                                                       07/28/2021                                          Lisa Brown
               4/28/2021
        *This summons isinvalid unless served on or befOre its expiration date. This document must be sealed by the seal of the court.

       MC 01 (9/19)     SUMMONS                                                                   MCR 1.109(D), MCR 2.102(B), MCR 2.103, MQR 2.104, MCR 2.105
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                                                                                                                  SUMMONS
                                                   PROOF OF SERVICE                                      Case No.2021-187679-NO
TO PROCESS SERVER: You are to serve the summons and corriplaint hot later than 91 days from the date of filing or the date
of expiration on the order for second summons. You must make and file your return with the court clerk. If you are unable to
complete service you must return this original and all copies to the court clerk.

                                           CERTIFICATE ./ AFFIDAVIT OF SERVICE / NONSERVICE
                   El
                    OFFICER CERTIFICATE                                   OR                   El AFFIDAVIT OF PROCESS SERVER
I certify that lam a sheriff, deputy sheriff, bailiff, appointed                     Being first duly sworn, I state that I am a legally competent
court officer, or attorney for a party (MCR 2.104[A][2]),                            adult, and I am not a party or an officer of a corporate
and that: (notarization not required)                                                party (MCR 2.103[A]), and that: (notarization required)

0 I served personally a copy of the summons and complaint,
0 I served by registered or certified mail (copy of return receipt attached) a copy of the summons and complaint,
together with
                List all documents served with the summons and complaint

                                                                                                                            on the defendant(s):
Defendant's name                                  Complete address(es) of Service                                           Day, date, time




El I have personally attempted to serve the summons and complaint, together with any attachments, on the following defendant(s)
    and have been unable to complete service.
Defendant's name                                  Complete address(es) of service                                           Day, date, time




I declare under the penalties of perjury that this proof of service has been examined by me and that its contents are true to the
best of my information, knowledge, and belief.
Service fee             Miles traveled Fee                                   Signature
$
                                    IS
Incorrect address fee Miles traveled Fee              TOTAL FEE              Name (type or print)
$                                                     $
                                      IS
                                                                             Title

Subscribed and sworn to before me on                                                                                           County, Michigan.
                                               Date

My commission expires                                          Signature:
                               Date                                          Deputy court clerk/Notary public

Notary public, State of Michigan, County of

                                           ACKNOWLEDGMENT OF SERVICE
I acknowledge that I have received service of the summons and complaint, together with
                                                                                                           Attachments

                                                          on
                                                               Day, date, time

                                                                    on behalf of
Signature
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                               This case has been designated as an eFiling case, for more information please visit
                               www.oakgov.com/efiling.
                                                              STATE OF MICHIGAN

                                                   IN THE CIRCUIT COURT FOR THE COUNTY OF OAKLAND

                               JOSEPHINE SLAPPEY,

                                              Plaintiff,                                               2021-187679-NO
                               -vs-                                                               Case No. 2021-       -NO
                                                                                                  FICNJUDGE DANIEL P. O'BRIEN
     4/28/2021 2:30 PM




                               TARGET CORPORATION,

                                              Defendant.


                               MANCINI SCHREUDER KLINE P.C.
                               DREW SLAGER (P 72941)
                               Attorneys for Plaintiff
                               28225 Mound Road
                               Warren, Michigan 48092-3498
                               (586) 751-3900/(586) 751-7203 fax
OaklandCounty Clerk




                               dslaperRmancini-law.com
                               Isloanmancini-law.com


                                                        There is no other pending or resolved civil action arising
                                                      out of the transaction or occurrence alleged in the complaint.

                                                           COMPLAINT AND DEMAND FOR JURY TRIAL

                                      NOW COMES the Plaintiff JOSEPHINE SLAPPEY by and through her attorneys, Mancini

                               Schreuder Kline P.C., and for her Complaint against Defendant TARGET CORPORATION states
    Receivedfor Filing




                               as follows:

                                              1.       Plaintiff is a resident of the City of Livonia, County of Oakland, State of

                               Michigan.

                                              2.       Defendant TARGET CORPORATION is a foreign profit corporation and at

                               all relevant times was doing business in the City of Farmington Hills, County of Oakland, State

                               of Michigan.

                                              3.       The amount in controversy herein exceeds the sum of Twenty-Five

                               Thousand ($25,000.00) pollars exclusive of costs, interest and attorney fees.

                                              4.       On or about the 10th day of November, 2018, Plaintiff JOSEPHINE

                               SLAPPEY visited Defendant's store at 30200 Grand River Ave in the City of Farmington Hills,

                               County of Oakland, State of Michigan, intending to purchase various items.
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                      5.      At the said time and place, as Plaintiff approached the front door of

      Defendant's store, a TARGET CORPORATION employee struck Plaintiff with a line of shopping

      carts he was propelling with a motorized cart, causing injuries set forth below.

                      6.      Defendant had the following duties to Plaintiff:

                              a.      to exercise ordinary care and caution for Plaintiff's safety
                                      and the safety of others;

                              b.      to avoid acts and omissions which might cause or
                                      compound injury to Plaintiff;

                              c.      to refrain from irresponsible and negligent conduct; and

                              d.      to meet other duties as specified by law, ordinance,
                                      standard, and custom.

                      7.      Defendant, through its own actions and those of its employee acting in the

      course of his employment, breached these duties when they performed the following acts of

      negligence:

                              a.      choosing not to use due caution for the safety of Plaintiff and
                                      others in the area in the course of his work;

                              b.      striking Plaintiff with the train of carts he was pushing;

                              c.      choosing not to check for pedestrians and otherwise check his
                                      surroundings adequately;

                              d.      choosing not to warn Plaintiff prior to striking her with the carts;

                              e.      choosing not to adequately train employees in the safe and proper
                                      operation of workplace duties; and

                              f.      otherwise breaching duties owed by law.

                      8.      As a direct and proximate result of Defendant's negligence and breach of

      duties, Plaintiff suffered injuries, including but not limited to:

                              a.      serious injuries to her back, and related and resultant injuries;

                              b.      disability and disfigurement;

                              c.      fright, fear, embarrassment, humiliation, mortification;

                              d.      post traumatic stress disorder;


                                                         2
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                              e.    pain and suffering;

                              f.    loss of earnings and earning capacity;

                              g.    medical expenses, past and future;

                              h.    denial of social pleasures and enjoyment of the usual activities of
                                    life; and

                                    other damages allowed by law.

                     WHEREFORE, Plaintiff requests an award of damages against Defendant in

      whatever amount in excess of Twenty-Five Thousand ($25,000.00) Dollars to which she may be

      found entitled, together with costs, interest and attorney fees so wrongfully incurred.

                              PLAINTIFF HEREBY DEMANDS A TRIAL BY JURY.

                                                      MANCINI SCHREUDER KLINE P.C.


                                                      By: /s/ Drew Slaaer
                                                           DREW SLAGER (P 72941)
                                                           Attorneys for Plaintiff
                                                           28225 Mound Road
                                                           Warren, Michigan 48092-3498
                                                           (586) 751-3900
      Dated: April 28, 2021




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            EXHIBIT B




                                                                 EXHIBIT B
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